         Case 3:11-cv-00049-JBA Document 26 Filed 01/30/12 Page 1 of 2



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
_____________________________________
ROBIN DEXTER and DANIEL DEXTER        )   CIVIL ACTION NO.
      Plaintiffs                      )   3:11-CV-00049 (JBA)
                                      )
v.                                    )
                                      )
MIDLAND CREDIT MANAGEMENT, INC.       )
     Defendant                        )   JANUARY 30, 2012
_____________________________________ )

                             STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), the plaintiffs, Robin Dexter and

Daniel Dexter, through their attorney, and the defendant, Midland Credit Management,

Inc., through their attorneys, hereby stipulate that the claims of the above-entitled action

shall be dismissed with prejudice, and without costs or attorney’s fees.

                                          Plaintiffs, Robin Dexter and Daniel Dexter

                                            By_/s/ Daniel S. Blinn_______________
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         Case 3:11-cv-00049-JBA Document 26 Filed 01/30/12 Page 2 of 2



                                            Defendant, Midland Credit Management, Inc.

                                            By_/s/ Jill E. Alward
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                                      CERTIFICATION

       I hereby certify that on this 30th day of January, 2012, a copy of foregoing
Stipulation of Dismissal was filed electronically and served by mail on anyone
unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.


                                              /s/ Daniel S. Blinn_
                                              Daniel S. Blinn




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